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                                                                                                 UNITED STATES DISTRICT COURT
                                                                 5                             NORTHERN DISTRICT OF CALIFORNIA

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                                                                      CHRISTINE PADILLA, an individual, on behalf     Case No.: 4:25-cv-03209-YGR
                                                                 8    of herself and all others similarly situated,
                                                                 9
                                                                                          Plaintiffs,
                                                                                                                      ORDER SETTING CASE MANAGEMENT
                                                                 10
                                                                            v.                                        CONFERENCE FOR RELATED CASES
                                                                 11
                                                                      CALIFORNIA PHYSICIANS’ SERVICE d/b/a
                                                                 12   BLUE SHIELD OF CALIFORNIA
                               Northern District of California
United States District Court




                                                                 13
                                                                                          Defendant.
                                                                 14   ANA MARAVILLA on behalf of herself and all      Case No.: 3:25-cv-03213-PHK
                                                                 15   others similarly situated,

                                                                 16                       Plaintiff,
                                                                 17
                                                                            v.
                                                                 18
                                                                      CALIFORNIA PHYSICIANS’ SERVICE D/B/A
                                                                 19   BLUE SHIELD OF CALIFORNIA,
                                                                 20
                                                                                          Defendant.
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                                                                 22   (Caption Continued on Next Page)
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                                                                      JASTON ARCHIE on behalf of himself and all                 Case No.: 4:25-cv-03222-DMR
                                                                 1
                                                                      others similarly situated,
                                                                 2
                                                                                             Plaintiff,
                                                                 3
                                                                             v.
                                                                 4

                                                                 5    CALIFORNIA PHYSICIANS’ SERVICE D/B/A
                                                                      BLUE SHIELD OF CALIFORNIA,
                                                                 6

                                                                 7
                                                                                            Defendant.
                                                                      Y.W., on behalf of himself and all others similarly        Case No.: 3:25-cv-03225-SK
                                                                 8    situated,
                                                                 9
                                                                                             Plaintiff,
                                                                 10
                                                                             v.
                                                                 11
                                                                      CALIFORNIA PHYSICIANS’ SERVICE d/b/a
                                                                 12
                                                                      BLUE SHIELD OF CALIFORNIA,
                                                                 13
                               Northern District of California




                                                                                             Defendant.
United States District Court




                                                                 14   ELLEN RENTAS TORRES, individually and on                   Case No.: 3:25-cv-03228-LJC
                                                                 15
                                                                      behalf of herself and all others similarly situated,

                                                                 16                          Plaintiff,
                                                                 17          v.
                                                                 18
                                                                      CALIFORNIA PHYSICIANS’ SERVICE D/B/A
                                                                 19   BLUE SHIELD OF CALIFORNIA,
                                                                 20
                                                                                              Defendant.
                                                                 21   ASHLEY JOHNSON on behalf of herself and all                Case No.: 3:25-cv-03234-AGT
                                                                      others similarly situated,
                                                                 22
                                                                                             Plaintiff,
                                                                 23

                                                                 24          v.

                                                                 25   CALIFORNIA PHYSICIANS’ SERVICE
                                                                      D/B/A BLUE SHIELD OF CALIFORNIA,
                                                                 26

                                                                 27                          Defendant.

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                                                                      ETHAN HECK on behalf of herself and all others          Case No.: 3:25-cv-03300-TSH
                                                                 1
                                                                      similarly situated,
                                                                 2
                                                                                             Plaintiff,
                                                                 3

                                                                 4
                                                                             v.

                                                                 5    CALIFORNIA PHYSICIANS’ SERVICE D/B/A
                                                                      BLUE SHIELD OF CALIFORNIA,
                                                                 6

                                                                 7
                                                                                              Defendant.
                                                                      DIANE LAMARRE on behalf of herself and all              Case No.: 3:25-cv-03301-JCS
                                                                 8    others similarly situated,
                                                                 9
                                                                                             Plaintiff,
                                                                 10
                                                                             v.
                                                                 11
                                                                      CALIFORNIA PHYSICIANS’ SERVICE D/B/A
                                                                 12
                                                                      BLUE SHIELD OF CALIFORNIA,
                                                                 13
                               Northern District of California




                                                                                              Defendant.
United States District Court




                                                                 14   KENDRA BAGE on behalf of herself and all                Case No.: 3:25-cv-03304-JD
                                                                      others similarly situated,
                                                                 15

                                                                 16                          Plaintiff,

                                                                 17          v.
                                                                 18
                                                                      CALIFORNIA PHYSICIANS’ SERVICE D/B/A
                                                                 19   BLUE SHIELD OF CALIFORNIA,
                                                                 20                          Defendant.
                                                                 21

                                                                 22   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
                                                                 23          The Court is in receipt of the plaintiffs’ unopposed motion to relate. Defendants have not
                                                                 24   appeared. The Court is inclined to grant to motion but waits for defendants to be served in the event
                                                                 25   that an objection is made. Defendants shall file a notice of its position as soon as is reasonably
                                                                 26   possible. Further, given the number of cases at issue, the parties shall meet and confer to discuss
                                                                 27   whether a consolidated complaint will be filed. To the extent motions to dismiss are anticipated, they
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                                                                 1    must be coordinated. The Court will conduct a case management conference with the parties to
                                                                 2    discuss the most expedient manner to address the pleadings.
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                                                                 4           IT IS SO ORDERED.
                                                                 5

                                                                 6    Dated: April 17, 2025
                                                                                                                      _______________________________________
                                                                 7                                                            YVONNE GONZALEZ ROGERS
                                                                                                                         UNITED STATES DISTRICT COURT JUDGE
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                               Northern District of California
United States District Court




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